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reviewed Plaintiffs objection but cannot identify an actual legal argument against

Judge Cavan's findings and recommendation. The objection fails to specifically or

adequately state any grounds why the Defendants' motion should not be granted or

why Plaintiff is entitled to summary judgment. Although pro se litigants are

afforded a degree of liberal construction in their filings, the Court cannot raise

arguments for Gotschall.

      When neither party properly objects, this Court reviews the Magistrate's

Findings and Recommendation for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981). Clear error

exists if the Court is left with a "definite and firm conviction that a mistake has

been committed." United States v. Syrax, 235 F.3d 422, 427 (9th Cir. 2000). After

reviewing the Findings and Recommendation, this Court does not find that the

Magistrate committed clear error.

      IT IS ORDERED that the proposed Findings and Recommendations entered

by the United States Magistrate Judge (Doc. 35) are ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Plaintiffs motion for summary judgment

is DENIED, Defendant's motion for summary judgment is GRANTED and that

this matter is DISMISSED.




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